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                     IN THE UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

JANICE KRAUSE,                          §
                                        §
               Plaintiff,               §
                                        §
v.                                      § CASE NO. __________________
                                        §
CITY OF HOUSTON,                        §
HOUSTON AIRPORT SYSTEM                  §
                                        §
              Defendant.                §

                            LIST OF ALL COUNSEL OF RECORD

                 COUNSEL FOR DEFENDANT CITY OF HOUSTON


Camela J. Sandmann
Senior Assistant City Attorney
SBN: 24077378
Federal ID: 2868369
P.O. Box 368
Houston, TX 77001-0368
900 Bagby, 3rd Floor
Houston, TX 77002
Phone: (832) 393-6472
Fax: (832) 393-6259
Camela.Sandmann@houstontx.gov

Dennis J. Jackson
Senior Assistant City Attorney
SBN: 24086286
Federal ID: 1811935
P.O. Box 368
Houston, TX 77001-0368
900 Bagby, 3rd Floor
Houston, TX 77002
Phone: (832) 393-6480
Fax: (832) 393-6259
Email: Dennis.Jackson@houstontx.gov




                                      Exhibit B
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                  COUNSEL FOR PLAINTIFF JANICE KRAUSE

Alfonso Kennard, Jr.
Kennard Miller Hernandez
SBN: 24036888
Federal ID: 713316
2603 Augusta Drive, Suite 1450
Houston, TX 77057
Phone: (713) 742-0900
Fax No.: (713) 742-0951
Email: Alfonso.Kennard@kennardlaw.com




                                    Exhibit B
